        Case:3:21-cv-07478-WHA
        Case  22-15566, 08/04/2022, ID: 12509724,
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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                    August 3, 2022


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: Coinbase, Inc.
          v. Abraham Bielski
          No. 22-105
          (Your No. 22-15566; 22-15209)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on July
29, 2022 and placed on the docket August 3, 2022 as No. 22-105.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Sara Simmons
                                        Case Analyst
